                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

 ALESSANDRO MASI,                              )
                                               )
                        Plaintiff,             )
                                               )
       v.                                      )               No. 5:19-CV-438-FL
                                               )
 MYTHICAL ENTERTAINMENT,
                                               )
                                               )
                        Defendant.             )

 MATTHEW BRADLEY,                              )
                                               )
                        Plaintiff,             )
                                               )
       v.                                      )               No. 5:19-CV-249-FL
                                               )
 ANALYTICAL GRAMMAR, INC.,                     )
                                               )
                        Defendant.             )


 STEVE SANDS,                                  )
                                               )
                        Plaintiff,             )
                                               )
       v.                                      )               No. 5:19-CV-345-FL
                                               )
 EPICSTREAM, LLC,                              )
                                               )
                        Defendant.             )

                                            ORDER

       These matters assigned to the undersigned, where each plaintiff appears through Richard

P. Leibowitz, Esq., come now before the court of its own initiative. Attorneys in good standing of

the bar of a United States Court and the bar of the highest court of any state may practice in this




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court for a particular case in association with a member of the bar of this court. Local Civil Rule

83.1(e)(1). It appears Mr. Leibowitz’s standing has been called into question in the United States

District Court for the Southern District of New York. Referred to as a “copyright troll,” in a case

involving one of the plaintiffs named above, a district judge recently observed “Mr. Liebowitz has

been sanctioned, reprimanded, and advised to ‘clean up [his] act’ by other judges of this Court.”

Sands v. Bauer Media Grp. USA, LLC, No. 17-CV-9215 (LAK), 2019 WL 4464672, at *1

(S.D.N.Y. Sept. 18, 2019). Serious sanctions were imposed by the judge in that case on account

of plaintiff’s discovery deficiencies, including requirement that Mr. Leibowitz personally pay

defendant’s fees associated with advancing its motion to dismiss as a sanction for alleged

discovery misconduct.

       This judge joins the chorus of those telling this attorney to clean up his act. The dockets

of each of the cases assigned to me, wherein this attorney represents a plaintiff, are littered with

deficiency notices. This is a harbinger for troubled litigation ahead.

       In Matthew Bradley, initiated by complaint filed June 18, 2019, Mr. Liebowitz was noticed

June 19, 2019, to file notice of appearance. It took over two months for him to bring himself into

compliance. In Steve Sands, filed August 8, 2019, he was noticed of numerous deficiencies at the

case’s start including those noted below:




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       Counsel also was noticed of requirement in Steve Sands to associate local counsel:




       The same notice was repreated August 27, 2019, and disregarded by the attorney. This

court had to issue an order nearly two months after opening of the case, expressly drawing this

deficiency to Mr. Liebowitz’s attention. If no appearance is made by the stated deadline of October

10, 2019, absent some showing of good cause, this case will be dismissed.

       In Alessandro Masi, just filed September 30, 2019, a number of deficiencies immediately

were noted by the clerk:




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       The problems described above appear rooted in a failure to read or understand the court’s

CM/ECF Policies and Procedures Manual and the Court’s Local Civil Rules, and disrespect for

the work of the clerk. There appears a failure to profit from the clerk’s work to bring issues to the

attorney’s attention prompt attention. Many of the issues repeat themselves from case to case.

See also Adlife Marketing & Communications Company, Inc. v. Carlie C’s Operation Center, Inc.,

No. 5:19-CV-405-BO (E.D.N.C. Sept. 16, 2019) (issuing deficiency notices concerning failure to

pay civil filing fee; failure to identify attachments; issues with proposed summons and civil cover

sheet; failure to associate local civil counsel; and failure to file financial disclosure statement have

all been brought to counsel’s attention, in some instances more than one time and still, it appears,

no remedial action on any noticed deficiency has been taken).




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       This attorney is noticed that he has until October 10, 2019, to cure any and every noticed

deficiency in the three cases now assigned to me. If no address is made in accordance with this

order, the cases at issue will be dismissed.

       SO ORDERED, this the 4th day of October, 2019.




                                               _____________________________
                                               LOUISE W. FLANAGAN
                                               United States District Judge




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